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19
                             NORTHERN DISTRICT OF CALIFORNIA
20
                                        SAN JOSE DIVISION
21

22   IN RE: GOOGLE LOCATION HISTORY                     Case No. 5:18-cv-05062-EJD
     LITIGATION
23                                                      PARTIES’ UPDATE RE STAY

24                                                      Dept:        Courtroom 4 - 5th Floor
                                                        Judge:       Hon. Edward J. Davila
25
                                                        Date Filed: November 2, 2018
26
                                                        Trial Date: None Set
27

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                                       PARTIES’ UPDATE RE STAY
                                        Case No. 5:18-cv-05062-EJD
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      Case 5:18-cv-05062-EJD Document 253 Filed 09/12/22 Page 2 of 3



 1             Earlier this year, based upon the parties’ stipulated request, the Court stayed all discovery

 2   in this matter and vacated all case deadlines to facilitate the parties’ mediation efforts. See

 3   Dkt. 243 at 5. This matter has been stayed since then. See Dkts. 243, 248, 250, 252. During that

 4   time, the parties have attended three mediation sessions with mediator Eric Green and have

 5   continued negotiations to resolve this dispute.

 6             The parties have now reached an agreement in principle as to the primary material terms

 7   (monetary and non-monetary) and request that the matter remain stayed for an additional 30 days,

 8   during which time they will work together to finalize a long-form settlement agreement.

 9             The parties propose to provide a further status update on October 12, 2022.

10

11   Dated: September 12, 2022                                 KEKER, VAN NEST & PETERS LLP
12

13                                                     By:     /s/ Benjamin Berkowitz
                                                               BENJAMIN BERKOWITZ
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     Dated: September 12, 2022                                 LIEFF CABRASER HEIMANN &
19                                                             BERNSTEIN, LLP

20
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21                                                             MICHAEL W. SOBOL
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23                                                             JALLÉ H. DAFA
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                                                               Interim Co-Lead Class Counsel
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                                   PARTIES’ UPDATE RE STAY AND SCHEDULE
                                           Case No. 5:18-cv-05062-EJD
     1911971
      Case 5:18-cv-05062-EJD Document 253 Filed 09/12/22 Page 3 of 3



 1   Dated: September 12, 2022                                AHDOOT & WOLFSON, PC

 2
                                                      By:     /s/ Theodore W. Maya
 3
                                                              TINA WOLFSON
 4                                                            THEODORE W. MAYA
                                                              BRADLEY K. KING
 5                                                            HENRY J. KELSTON

 6                                                            Interim Co-Lead Class Counsel

 7

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12                                              ATTESTATION
13             Pursuant to Civil Local Rule 5.1 regarding signatures, I attest that concurrence in the

14   filing of this document has been obtained from the other signatories.

15

16   Dated: September 12, 2022                               /s/ Benjamin Berkowitz
                                                             BENJAMIN BERKOWITZ
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                                   PARTIES’ UPDATE RE STAY AND SCHEDULE
                                           Case No. 5:18-cv-05062-EJD
     1911971
